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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

United States of America,

                     Plaintiff,

v.                                                              Case No. 09-20133-11-JWL


Ibrahima Kane,

                     Defendant.

                                  MEMORANDUM & ORDER

       This matter is before the court on Mr. Kane’s pro se motion for reduction of sentence

pursuant to 18 U.S.C. § 3582(c)(2) in which Mr. Kane asks the court to reduce his sentence

based on Amendment 782 to the United States Sentencing Guidelines. The motion is dismissed

as the court lacks the authority to revise Mr. Kane’s sentence based on Amendment 782. The

court sentenced Mr. Kane to 66 months’ imprisonment after reducing his sentence from the 120-

month mandatory minimum to reflect the 54 months that Mr. Kane had served in Arizona based

on the same conduct. See U.S.S.G. § 5G1.3(b)(1). In essence, then, Mr. Kane received the 10-

year mandatory minimum sentence with an offset for time already served in state custody.

Because Mr. Kane remains subject to the mandatory minimum sentence of 120 months, a

reduction under § 3582(c)(2) is not authorized and Amendment 782 affords no relief to Mr.

Kane. See United States v. Woods, ___ Fed. Appx. ___, 2015 WL 250647, at *1-2 (10th Cir.

Jan. 21, 2015) (if a defendant is sentenced pursuant to a statutory mandatory minimum sentence

provision, he is ineligible for a sentence reduction under 3582(c)(2)).
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       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Kane’s motion for

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 1737) is dismissed for lack of

jurisdiction.



       IT IS SO ORDERED.



       Dated this 17th day of February, 2015, at Kansas City, Kansas.



                                               s/ John W. Lungstrum
                                               John W. Lungstrum
                                               United States District Judge




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